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   8                      UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
  10                               WESTERN DIVISION
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        JANE DOE on behalf of herself and all   Case No. 2:22-cv-01016-DMG-PVCx
  12    others similarly situated,
  13                                            ORDER ON STIPULATED PRE-
                                Plaintiff,      TRIAL PROTECTIVE ORDER AS
  14    v.                                      TO THE IDENTITY OF
  15                                            PLAINTIFF JANE DOE
        MINDGEEK USA INCORPORATED,
  16    MINDGEEK S.A.R.L., MG FREESITES,
        LTD (D/B/A PORNHUB), MG
  17    FREESITES II, LTD, MG CONTENT RT
        LIMITED, AND 9219-1568 QUEBEC,
  18    INC. (D/B/A MINDGEEK),
  19                            Defendants.
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                                                       STIPULATED PROTECTIVE ORDER
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   1         1. Plaintiff is a victim of child sex trafficking and child pornography. The
   2   Court previously approved Plaintiff’s request to proceed under a pseudonym in this
   3   litigation. Dkt. 39. Plaintiff seeks a protective order governing the circumstances
   4   and terms by which her identity (and the identity of any future named plaintiffs) may
   5   be disclosed to and by Defendants to minimize the potential for further harassment
   6   from her trafficker and others were her identity disclosed, and to avoid the stigma
   7   and embarrassment that would accompany exposure of her identity beyond what is
   8   necessary in this litigation. In a related case against MindGeek, this Court recognized
   9   that a protective order would be appropriate vehicle “to provide Defendants’ counsel
  10   with their true identities if necessary in the litigation.” Fleites v. MindGeek S.A.R.L.,
  11   2021 WL 2766886, at *1 (C.D. Cal. June 28, 2021).
  12         2. Counsel for Plaintiff(s) shall provide to counsel for the Defendants the
  13   Plaintiff(s)’ name, alias names used at any time (as recalled by Plaintiff(s)), and date
  14   of birth (“True Identity”) within 7 days of the entry of this Order. As used herein,
  15   True Identity is defined as the following:
  16                A. Name and any alias names used at any time (as recalled by
  17                   Plaintiff(s));
  18                B. Date of birth;
  19         Taken together, Plaintiff(s)’ full name and date of birth constitute her “True
  20   Identity” for purposes of this Order.
  21         3. Within 7 days of the entry of this Order, Counsel for Plaintiff(s) shall also
  22   provide to counsel for the Defendants the names of her trafficker(s), including any
  23   known aliases used at any time (as recalled by Plaintiff(s)), and the names or known
  24   aliases of any known associates of the trafficker, as well as the case name and case
  25   number of any known criminal prosecutions of Plaintiff(s)’ trafficker(s).
  26         4. The Court has already permitted Plaintiff Jane Doe to proceed
  27   pseudonymously in all public Court proceedings. Dkt. 39. The parties reserve the
  28   right to reassess Plaintiff’s right to proceed pseudonymously at trial.
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                                                                STIPULATED PROTECTIVE ORDER
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   1         5. Subject to paragraph 5, the Parties, as well as their agents, employees, and
   2   assigns shall keep the True Identity of Plaintiff(s) confidential during and after the
   3   conclusion of this matter. The Parties may only disclose Plaintiff(s)’ True Identity to
   4   the following:
   5                A. The Parties to this litigation, including any employees, agents, and
   6                    representatives of the Parties as needed to litigate any claims or
   7                    defenses 1;
   8                B. Counsel for the Parties and employees, agents, and representatives
   9                    of counsel as needed to litigate any claims or defenses;
  10                C. The Court, and court personnel;
  11                D. Any potential, anticipated, or actual fact witness (with the exception
  12                    of the Plaintiff(s)’ trafficker(s) and his known associates (addressed
  13                    below in Paragraph 5)), and their counsel after signing the agreement
  14                    to be bound by this Protective Order;
  15                E. Any custodian of records, but only to the extent that Plaintiff(s)’ True
  16                    Identity will assist the custodian in obtaining and producing records
  17                    after signing the agreement to be bound by this Protective Order;
  18                F. Government agencies and agency personnel, but only to the extent
  19                    that the disclosure of Plaintiff(s)’ true identity is necessary to litigate
  20                    any claims or defenses or to comply with any obligations or
  21                    requirements including law enforcement and law enforcement
  22                    personnel;
  23                G. Persons to whom disclosure is compelled by law, including (but not
  24                    limited to) by subpoena, warrant, or court order with 14 days prior
  25                    notice to all counsel of record for the Plaintiff(s);
  26                H. Persons to whom disclosure is necessary in order for Defendants to
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        Except to the extent that a Party’s employee, agent, or representative is also a known
  28   associate of Plaintiff(s)’ trafficker(s), in which case Section 5 of this Order will apply.
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                                                                  STIPULATED PROTECTIVE ORDER
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   1                   obtain relevant discovery or otherwise prepare a good-faith defense,
   2                   after signing the agreement to be bound by this Protective order;
   3                I. Independent providers of document reproduction, electronic
   4                   discovery, or other litigation services retained or employed
   5                   specifically in connection with this litigation after signing the
   6                   agreement to be bound by this Protective Order;
   7                J. Court reporters, recorders, and videographers engaged for
   8                   depositions after signing the agreement to be bound by this
   9                   Protective Order;
  10                K. Any mediator appointed by the Court or jointly selected by the
  11                   Parties after signing the agreement to be bound by this Protective
  12                   Order;
  13                L. Any expert witness, outside consultant, or investigator retained
  14                   specifically in connection with this litigation after signing the
  15                   agreement to be bound by this Protective Order; and
  16                M. Other persons or entities as needed to litigate any claims or defenses
  17                   upon consent of the parties. A meet and confer must be held
  18                   regarding any such disclosure. Consent shall not be unreasonably
  19                   withheld.
  20         6. At least fourteen days prior to contacting Plaintiff(s)’ alleged trafficker(s)
  21   or his known associates, Defendants shall submit an ex parte letter to the Court of
  22   their intent to contact Plaintiff(s)’ alleged trafficker(s) and to reveal Plaintiff(s)’
  23   identity to the alleged trafficker(s). Defendants shall describe the information sought,
  24   describe why that information is sought from the alleged trafficker(s) as opposed to
  25   some other source, and explain the necessity of disclosing Plaintiff(s)’ identity. The
  26   Court will evaluate the request to ensure that the information sought is relevant to the
  27   elements of a claim or defense and proportional to the needs of the case.
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                                                               STIPULATED PROTECTIVE ORDER
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   1         7. The provisions of this Order shall apply to any disclosure of Plaintiff(s)’
   2   True Identity throughout the course of this Action, regardless of whether such
   3   disclosure may occur through written, electronic, or oral means.
   4         8. If Defendants run any trafficker’s name or alias through the Defendants’
   5   databases including any for registration, memberships, online communications, etc.,
   6   the results of this search shall be promptly provided to counsel for the Plaintiff(s).
   7         9. The Parties and any non-parties shall redact from all public filings all
   8   identifying information of Plaintiff(s), her alleged trafficker(s) and the trafficker(s)’
   9   known associates, including: (i) name and aliases; (ii) names of family members; (iii)
  10   date of birth; (iv) social security number or other government-issued identification
  11   numbers; (iv) addresses; (v) phone numbers; (vi) photographs or other images; (vii)
  12   physical descriptors; (viii) medical records; and (ix) social media or other online
  13   accounts, including accounts on Pornhub, Redtube, or other sites owned by
  14   Defendants. Upon the filing of a redacted document, the filing party must
  15   simultaneously file an unredacted copy under seal and provide an unredacted copy to
  16   the other party. This order shall constitute the specific court order required for filing
  17   under seal pursuant to Local Rule 79-5.2.2. In other words, the parties need not file
  18   a further administrative motion prior to each filing under seal pursuant to this
  19   Protective Order. For avoidance of doubt, redactions should not be applied to the
  20   documents exchanged in discovery between the parties on the basis of this Protective
  21   Order.
  22         10. To the extent any Party or non-party has questions or concerns about
  23   whether any forthcoming filing complies with the requirements of this Order, such
  24   party or nonparty should seek leave of Court prior to submitting any such filing.
  25         11. The Parties will comply with the good faith meet-and-confer requirement
  26   in Fed. R. Civ. P. 37(a)(1) prior to seeking judicial intervention if there are any
  27   disputes relating to this Stipulated Protective Order.
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                                                                STIPULATED PROTECTIVE ORDER
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   1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
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   3   DATED:       June 16, 2022
   4
       /s/ Krysta K. Pachman
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       Attorneys for Plaintiff(s)
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   8   DATED:       June 16, 2022
   9

  10   /s/ Kathleen N. Massey
       Attorneys for Defendants
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       FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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       DATED: June 22, 2022
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       Honorable Pedro V. Castillo
  18   United States Magistrate Judge
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                                                       STIPULATED PROTECTIVE ORDER
